                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:
                                                        Chapter 13
BRANDON HEITMANN,                                       Case No. 24-41956-MAR
                                                        Hon. Mark A. Randon
                Debtor.
                                           /
MOHAMED SAAD,

         Plaintiff,

v.                                                      Adv. Pro. No.24-04375-MAR
                                                        Hon. Mark A. Randon
BRANDON HEITMANN,

         Defendant.

_____________________________________/

      AMENDED PLAINTIFF’S ANSWERS AND OBJECTIONS TO
     DEFENDANT BRANDON HEITMANN’S FIRST REQUESTS FOR
                     PRODUCTION OF
              DOCUMENTS TO MOHAMED SAAD

      Now comes Mohamed Saad, Plaintiff, by and through his attorneys,
OSIPOV BIGELMAN, P.C., and states as follows as his Answers and Objections
to Defendant Brandon Heitmann’s First Requests for Production of Documents to
Mohamed Saad:

                               GENERAL OBJECTIONS

      1.    Plaintiff objects to these discovery requests to the extent that they
purport to impose on Plaintiff’s obligations exceeding those imposed by the
Federal Rules of Civil Procedure.

      2.   Plaintiff objects generally to the discovery requests to the extent they
seek information regarding subjects protected by the attorney-client privilege,


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work product protection, or any other privilege or immunity from discovery.
Plaintiff will not disclose such information, and any inadvertent disclosure thereof
shall not be deemed a waiver of any privilege with respect to such information or
any work product documents, which may attach thereto.

      3.     Plaintiff objects generally to the discovery requests to the extent they
seek information, which is neither relevant to the subject matter at issue in this
action nor reasonably calculated to lead to the discovery of admissible evidence.

       4.    Discovery is currently ongoing. Plaintiff expressly reserves the right
to amend, supplement and/or alter these responses, if necessary, during the course
of discovery as additional information becomes available.

      5.     Plaintiff’s responses to the discovery requests are made without
waiving:

             A)    All questions as to the competence, relevance, materiality,
                   privilege and/or admissibility as evidence, for any purpose, of
                   the responses provided by Plaintiff or the subject matter
                   thereof;
             B)    The right to object on any ground to the use of the responses
                   provided by Plaintiff or the subject matter thereof;
             C)    The right to object at any time to any other set of discovery
                   requests; and
             D)    The right to revise, supplement, correct, add to, or clarify
                   Plaintiff’s responses and objections to these discovery requests.

      The above General Objections apply to each of the following requests and is
a part of the response to each of them. Subject to and without waiver of its
foregoing General Objections, Plaintiff responds to Defendant Brandon
Heitmann’s First Requests for Production of Documents to Mohamed Saad as
follows:

REQUEST NO. 1: All communications between you and Defendant (including
Exigent and its employees) relating to the subject Pool/Project, as well as all
documents exchanged between you and Defendant relating to the subject
Project. This includes but is not limited to emails, letters, text messages, and
social media messages.




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ANSWER: Plaintiff objects to this request, as vague, overly broad, and unduly
burdensome. In addition, all such communications are already in Defendant’s
possession. Without waiving any such objections, Plaintiff provides emails with
Exigent and Plaintiff’s text messages with Defendant.

REQUEST NO. 2: All communications between you and Osama Abdullah
(“OJ”) relating to the subject Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving any such objection, upon information and belief, all
such communications were over the phone or in person, principally consisting of
advice if something did not appear right or safe.

REQUEST NO. 3: All contracts and amendments between you and Defendant
relating to the subject Project.

ANSWER: Plaintiff objects to this request, as all such documents are already in
possession of Defendant. Without waiving any such objections, Plaintiffs provides
the contract with Exigent (previously attached to Plaintiff’s Complaint as Exhibit
A).

REQUEST NO. 4: All communications between you and any other entities,
individuals, and companies that repaired, replaced, performed work, or
provided estimates on the subject Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving any such objections, Plaintiff provides email
communication (with attachments) from Justin Booth of Coastal Pools.

REQUEST NO. 5: All contracts and amendments between you and any other
entities, individuals, and companies that repaired, replaced, or performed
work on the subject Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving any such objections, Plaintiff provides Coastal
Pools quote/contract.

REQUEST NO. 6: All bills, invoices, and/or receipts between you and any
other entities, individuals, and companies that repaired and/or replaced the
subject Project.


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ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving any such objections, Plaintiff provides Coastal
Pools invoices.

REQUEST NO. 7: All communications between you and any other persons
(not including your legal counsel) relating to the subject Project, as well as all
documents exchanged between you and such other persons relating to the
subject Project. This includes, but is not limited to, communications with
other Exigent customers.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving any such objections, Plaintiff possesses no
responsive documents.

REQUEST NO. 8: All documents you received or obtained from any sources
(other than the documents received by you from Defendant) whether by
subpoena, request for production, written authorization, or otherwise, relating
to the subject matter of this litigation.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff possesses no responsive
documents.

REQUEST NO. 9: All documents you identified, described, or referenced in
your answers or responses to any interrogatory or other discovery request
served upon you in this litigation.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff has provided all responsive
documents in his possession.

REQUEST NO. 10: Any non-privileged notes, statements, and/or other
documents that relate to the subject matter of this litigation.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff has provided all responsive
documents in his possession.




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REQUEST NO. 11: All documents that relate to your contentions, positions,
or defenses in this litigation, including without limitation, any and all
documents that you believe demonstrate, corroborate, substantiate, support,
or otherwise relate to your contentions, positions, or defenses in this litigation.

ANSWER: Plaintiff objects to this request as vague, duplicative, overly broad, and
unduly burdensome.

REQUEST NO. 12: All documents you intend to introduce at the trial in this
matter (which are known to you at this time).

ANSWER: Plaintiff objects to this request as vague, duplicative, overly broad, and
unduly burdensome. Without waiving any such objections, Plaintiff reserves the
right to introduce, without limitation, all documents referenced in Plaintiff’s Initial
Disclosures, Defendant’s Initial Disclosures, all documents produced in response to
these requests, all documents produced by Defendant in this litigation, all
pleadings in this litigation, all pleadings in Defendant’s bankruptcy case, and all
pleadings in Exigent Landscaping’s bankruptcy case.

REQUEST NO. 13: All documents and/or communications you exchanged
with any experts expected to testify in this matter, including, but not limited
to, communications requesting an opinion from the experts, the experts’
curricula vitae, and any reports and/or documentation prepared by the
experts memorializing their opinions regarding the subject matter of this
litigation.

ANSWER: Plaintiff objects to this request as premature, overly broad, and unduly
burdensome. Without waiving any such objections, Plaintiff has provided all
responsive documents in his possession.

REQUEST NO. 14: To the extent not provided from a previous request, all
communications, emails, call logs, text messages, social media messages or
other written communication you had with any current, former, or potential
customer of Exigent Design and Build, including but not limited to Alex Boyd,
Rebecca Boyd, Angela Hebeka, Joseph Hebeka, Daniel Carter and their
attorneys.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff possesses no responsive
documents.


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REQUEST NO. 15: To the extent not provided from a previous request, all
communications and documentation relating to any permits or approvals
related to the pool Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. In addition, all such requested information should be in possession of
the Defendant, as the contractor on the Project. Without waiving any such
objections, Plaintiff has provided all responsive documents in his possession.

REQUEST NO. 16: To the extent not provided from a previous request, all
communications and documentation between you and any township, county,
or governmental entity relating to the Pool Project including municipal
permitting, building, or inspection offices.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff possesses no responsive
documents.

 REQUEST NO. 17: All photos, video, and media of the Project site as it
relates to the Project.

ANSWER:
Plaintiff objects to this request as vague, duplicative, overly broad, and unduly
burdensome. Without waiving any such objection, see below (and attachments to
Booth        email       provided      in     response       to     RFP       No.




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4:




These are large rocks just stacked. No footings in the ground to support it. No
Steel being reinforced. After one week, the “grotto” began to tilt forward. The
large rock on top cracked down the middle.




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REQUEST NO. 18: To the extent not provided from a previous request, all
documents and communications with Justin Booth from Coastal.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff has provided all responsive
documents in his possession.


REQUEST NO. 19: To the extent not provided from a previous request, all
documents and communications with Messina Concrete and Dolphin
Waterslides.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Without waiving such objection, Plaintiff possesses no responsive
documents, as, upon information and belief, all such communications were verbal.
Without waiving such objections, Plaintiff produces invoices and payments




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receipts from Dolphin Waterslides and Plaintiff’s American Express statements
showing payment of Messina Concrete.

REQUEST NO. 20: To the extent not provided from a previous request, all
communications with Rana Saad regarding the subject Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, and unduly
burdensome. Plaintiff also objects to this request on the grounds that it requests
information or communication protected by the marital privilege.

REQUEST NO. 21: To the extent not provided from a previous request, all
documents and communications with banks or financing companies regarding
the subject Project.

ANSWER: Plaintiff objects to this request as vague, overly broad, unduly
burdensome, reasonably calculated to lead to the discovery of relevant admissible
evidence.


                                      Respectfully submitted,

Dated: April 23, 2025                 /s/ Mohamed Saad
                                      Mohamed Saad, Plaintiff

                                      Submitted by,

                                      OSIPOV BIGELMAN, P.C.

Dated: April 23, 2025                 /s/ Anthony J. Miller
                                      ANTHONY J. MILLER (P71505)
                                      Attorneys for Plaintiff
                                      20700 Civic Center Dr. Ste. 420
                                      Southfield, MI 48076
                                      248.636.1800
                                      am@osbig.com




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